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January 23, 2024

By ECF
Honorable Laura Taylor Swain
Chief United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:    U.S. v. Aimee Harris, 22 Cr. 457 (LTS)

Dear Judge Swain:

       This Court appointed me as additional CJA counsel on December 8, 2023 for the limited
purpose of consulting with Aimee Harris in advance of her upcoming sentencing on January 30,
2024.
       I write to advise the Court that I have not been able to consult with Ms. Harris since my
appointment on December 8, 2023. In mid December, I made contact with Ms. Harris but she
was not able to speak with me at that time. All subsequent efforts to reach Ms. Harris by email
and by telephone have been fruitless and I have not spoken with her.

Respectfully,
/s
Natali Todd, Esq.

cc:    All Counsel of Record
